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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

DARREN J. SHERRY, Jr.
110 Round Train Road
West Seneca, NY 14218
Plaintiff.
CIVIL ACTION NO.
Vv.
NORFOLK SOUTHERN RAILWAY CO.
1200 Peachtree Street NE
Atlanta, GA 30309

Defendant.

COMPLAINT AND JURY DEMAND

COMES NOW the plaintiff, DARREN J. SHERRY, Jr., by and through his undersigned
counsel, and claims of the defendant an amount in excess of the statutory arbitration limits and
avers the following:

le Plaintiff, DARREN J. SHERRY, Jr., is an adult individual residing in West Seneca,
NY

a Defendant, Norfolk Southern Railway Co. (“NS”), is and was at all times material
hereto a corporation duly organized and existing under and by virtue of law and was engaged in
owning and operating a line and system of railroads and railroad properties as a common carrier
of goods and passengers for hire in interstate commerce and transportation in, through and between

various and several states of the United States and doing business in the Western District of New

York.
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3; At all times material hereto and for some time prior thereto, plaintiff was in the
employ of defendant as a Brakeman/Switchman in furtherance of the carriers’ business of interstate
commerce and transportation by railroad.

4. This action is brought against defendant pursuant to the Federal Employers’
Liability Act, 45 United States Code §§51, et seq.

a At all times material hereto and for some time prior thereto, defendant owned,
controlled and/or maintained a railroad yard facility called the Bison Yard, in Cheektowaga, NY.

6. On or about May 6, 2019, at approximately 2:00 AM in the morning, plaintiff was
employed by NS performing his duties as a Brakeman/Switchman in furtherance of the carrier’s
business of interstate commerce, at NS’s Bison Yard facility, when, while walking on the north
side of the yard lead and observing his surroundings, plaintiff was caused to fall into a hole in the
ballast, injuring his lower back and right lower extremity.

7; Plaintiff's injuries were caused by defendant’s failure to provide plaintiff with a
reasonably safe place to work as required by the Federal Employers Liability Act, 45 U.S.C. §§51,
et seq., (1908).

8. Plaintiffs injuries were caused, both directly and proximately, by the negligence,
gross negligence, carelessness, recklessness, and/or unlawful conduct of the defendant acting by
and through its agents, servants and employees and/or its ostensible agents, servants and
employees in the following respects.

(a) failing to use ordinary care to furnish plaintiff with a reasonably safe place to work

and to perform the duties of his employment;

(b) failing to use ordinary care to furnish plaintiff with a reasonable safe place to work

and perform the duties of his employment by failing to properly maintain and

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(c)

(d)

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(h)

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inspect the ballast, ground surface and/or footing conditions where the plaintiff was
required to traverse in the course and scope of his employment;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to use safeguards in and around
the defendant’s Eastside Yard facility preventing a dangerous and/or hazardous
condition;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to maintain the ballast, ground
surface and/or footing conditions in a reasonable safe condition;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to relieve plaintiff from his
aforesaid unsafe duties when defendant knew or should have known that exposure
to unsafe and hazardous conditions created and/or placed plaintiff at risk of harm
and/or injury;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to provide plaintiff with a
reasonably safe means with which to access his work area;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to provide plaintiff with proper
lighting conditions;

failing to warn plaintiff of the reasonably dangerous conditions and/or hazardous

condition of the work area;
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(j)

(k)

(I)

(m)

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to provide plaintiff with proper
footing conditions and/or environment;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to properly maintain the
aforesaid ballast in a condition free from the presence of dangerously uneven
footing condition and/or ballast;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to properly maintain the
aforesaid ballast in a condition free from the prospect that someone walking along
the track at that location would fall into an unmarked hole and/or as a result of an
improper, dangerous and/or defective condition of the ballast;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to properly train its employees
and/or crews to maintain the aforesaid ballast, ground surface and/or footing
conditions in a condition free from the presence of a dangerously hole and/or a
dangerous uneven footing condition;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and to perform the duties of his employment by requiring plaintiff to perform his
assigned job tasks in an area made unsafe due to the presence of a dangerous

condition;
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failing to warn plaintiff of the dangerous and/or hazardous condition of the work
area, including, but not limited to, the aforesaid hole and/or ballast, ground surface
and/or footing conditions, which was made unsafe due to the presence of a
dangerous condition;

failing to remedy and/or correct the defective, dangerous, and/or hazardous
conditions, as described above, when defendant knew or should have known that
said conditions existed:

failing to use ordinary care to service and/or maintain the subject ballast, ground
surface and/or footing conditions in a reasonable safe condition;

failing to use ordinary care to properly inspect the subject ballast, ground surface
and/or footing conditions to ensure that same was in a reasonable safe condition;
failing to use ordinary care to properly address complaints of improper, dangerous
and/or defective lighting conditions at the aforesaid facility;

failing to properly maintain the aforesaid lighting conditions, and remove the
aforesaid improper, dangerous and/or defective conditions in a proper and timely
manner;

failing to use ordinary care to properly address complaints of improper, dangerous
and/or defective ballast, ground surface and/or footing conditions at the aforesaid
facility;

failing to properly maintain the aforesaid ballast, ground surface and/or footing
conditions, and remove the aforesaid improper, dangerous and/or defective

conditions in a proper and timely manner;

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(v)

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(x)

(y)

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(cc)

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to have a proper protocol in
place for maintaining lighting conditions in a safe condition;

failing to use ordinary care to furnish plaintiff with a reasonable safe place to work
and perform the duties of his employment by failing to have a proper protocol in
place for maintaining ballast, ground surface and/or footing conditions in a safe
condition;

failing to comply with governmental and/or other applicable safety regulations
and/or guidelines concerning the safety of the workplace, particularly as it pertains
to the existence and presence of such hazards;

failing to discover, in the exercise of reasonable care, the defective, dangerous
and/or hazardous conditions of the work area and the dangerous working conditions
as more fully described above;

failing to provide plaintiff with a reasonably safe place to perform his job duties in
the immediate presence of a dangerous condition which posed an unreasonable risk
of harm to plaintiff;

failing to maintain the subject ballast, ground surface and/or footing conditions so
that same was free from the presence of a dangerous condition;

failing to maintain the subject lighting conditions so that same was free from the
presence of a dangerous condition;

failing to properly supervise the area in question so as to furnish to the plaintiff a

safe place to walk, free from hazards which should have been recognized by

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defendant as causing or likely to cause the serious physical harm to the plaintiff and
others;

(dd) failing to maintain the premises owned by defendant in good and safe condition for

the plaintiff and others;

(ee) failing otherwise to comply with the applicable laws and regulations of the State of

New York and the applicable Federal law and regulations.

%; As a direct and proximate result of the negligence, carelessness, and/or unlawful
conduct of defendant, more fully described above, plaintiff was caused to suffer severe and
permanent injuries, severe shock to his nerves and nervous system, aggravation, acceleration and
activation of any and all pre-existing ailments and/or conditions, and more particularly, but not in
limitation of any other personal injuries he may have sustained, plaintiff suffered injuries to his
lower back and right lower extremity, by reason of which he has suffered great physical pain and
mental distress which he yet suffers and will continue to suffer into the future.

10. Asadirect and proximate result of the negligence, carelessness, recklessness and/or
unlawful conduct of Defendant, as more fully set forth above, plaintiff has suffered in the past and
will continue to suffer into the future significant pain, mental anguish, humiliation and
disfigurement and the limitation and restrict of his usual activities, pursuits and pleasures.

11. | Asadirect and proximate result of the negligence, carelessness, recklessness and/or
unlawful conduct of Defendant, as more fully set forth above, plaintiff has suffered in the past and
will continue to suffer into the future a loss of earnings and earning capacity as well as additional

financial expenses and/or losses.
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13. The injuries sustained by plaintiff were caused solely and proximately by the
negligence of defendant, its agents, servants and/or employees and/or its ostensible agents,

servants and/or employees and were in no way caused by any act or omission on the part of the

plaintiff.
WHEREFORE, plaintiff, demands judgment in his favor and against defendant, NS, in an

amount for compensatory damages, together with costs, interest and any further and additional

relief that this Honorable Court deems appropriate.

Dated: September J , 2021
Geneva, New York

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VERIFICATION

Darren J. Sherry, Jr., being duly sworn, deposes and says:

Iam the plaintiff in the above-entitled action. I have read the foregoing complaint and know
the contents thereof. The same are true to my knowledge, except as to matters therein stated to be
alleged on information and belief and as to those matters I believe them to be true.

DARREN J. SHERRY Jr.

Sworn to and subscribed before me
thisQU day, of SEpyrmbef , 2021

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DOMINICK FHILLIP CANZONERI
Notary Public, State of New York
Qualified in Erie County

Reg. No. 01CA6371012 —)
My Commission Expires 02/20/20¢beX<

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